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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES

Date: April 15, 2021 (Time: 19 minutes)          JUDGE: Phyllis J. Hamilton

Case No: 20-cv-03456-PJH
Case Name: Cupp v. Smith

Attorney(s) for Plaintiff:       Ronald Cupp, pro se
Attorney(s) for Defendants:      Michael King


Deputy Clerk: Kelly Collins              Court Reporter: Not reported

                                    PROCEEDINGS

        Initial Case Management Conference-Held. Amendment of the pleadings no
later than 90 days before fact discovery cutoff date a motion or a stipulation must be
filed so sufficient time remains to conduct discovery on added claims or parties. Parties
shall meet and confer regarding number of interrogatories and file a motion to increase
the number if parties cannot reach an agreement.



REFERRALS:
[X] Case referred to (random) Magistrate Judge for SETTLEMENT CONFERENCE
within 120 days, or as soon thereafter as is convenient for the judge.



PRETRIAL SCHEDULE:

Non-Expert Discovery Cutoff: 9/21/2021
Dispositive Motions to be filed by: 10/14/2021
Dispositive Motions heard by: 12/2/2021 @ 1:30 p.m.


cc: chambers
